Case 1:18-cv-00106-MSM-LDA Document 71 Filed 11/25/19 Page 1 of 4 PagelD #: 1141

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VIA CM/ECF
November 25, 2019

Honorable Mary S. McElroy
United States District Court

One Exchange Terrace
Providence, RI 02903

RE: John Doe v. Johnson & Wales University,
C.A. No. 18-106-MSM-LDA

Dear Judge McElroy:

Defendant Johnson & Wales University (“JWU”) submits a supplemental authority in
support of its motion for summary judgment, argued on October 31, 2019. JWU refers the Court
to the First Circuit’s ruling in John Doe v. Trustees of Boston College, No. 19-1871 (1st Cir. Nov.
20, 2019), which further supports entry of summary judgment in favor of JWU.

Vacating a preliminary injunction reinstating a suspended student, the First Circuit ruled
the district court erroneously imported federal due process requirements into a contract between
a student and a private school; it held that a private school need only comply with the applicable
contract with the student, as construed under applicable state law. The First Circuit’s ruling
controls the Court’s review of JWU’s summary judgment motion in at least four respects,
discussed below.

1. Federal Due Process Concerns Do Not Apply To A Private School’s Student
Discipline Procedures; The Procedures That Apply Are A Matter Of Contract
Under Applicable State Law.

The First Circuit held that “[i]t is quite clear, and the parties do not dispute that federal
due process law does not dictate to states the procedures that private colleges must follow in
administering student discipline.” Slip. Op. at 2. Instead, the applicable procedures are a matter
of contract between the student and the private school; the student is entitled only to the
procedures set forth in that contract, as construed under state law, not those federal due process
might require. Id.

4826-0605-5598._1
Case 1:18-cv-00106-MSM-LDA Document 71 Filed 11/25/19 Page 2 of 4 PagelD #: 1142

Honorable Mary S. McElroy

November 25, 2019 NIXON PEABODY LLP

Page 2 ATTORNEYS AT LAW
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In his memorandum and oral argument opposing JWU’s summary judgment motion,
Plaintiff relied on federal due process case law pertaining to public universities, in both his Title
IX and contract contentions.' As Boston College holds, Plaintiff's efforts to import into JWU’s
contractual disciplinary process (or, for that matter, Title IX) the requirements of federal due
process fail as matter of law.

2. In Ascertaining Reasonable Expectations, The Court Must Focus Exclusively
On The Express Contractual Promises.

In Boston College, the plaintiff argued the college’s disciplinary procedures should have
included a “quasi-cross-examination [right for both the accused and accusing students] in real
time.” Slip Op. at 11. Applying Massachusetts law, the First Circuit noted that

[nJothing in the contract provides any basis for the expectation [that
cross-examination would be allowed]. Indeed, the contract procedures
explicitly do not provide any such opportunity. Given the Policy’s [i.e.,
contract’s] plain description of BC’s investigation process, Doe could not
have reasonably expected to be allowed quasi-cross-examination in real
time.

Td. at 11-12.

Like Massachusetts law, Rhode Island law construes educational contracts “in accordance
with the parties’ reasonable expectations, giving those terms the meaning that the university
reasonably should expect the student to take from them.” John Doe v. Brown University, 210 F.
Supp. 3d 310, 330 (D.R.I. 2016) (internal quotations omitted); compare Slip Op. at 11 (noting
that Massachusetts law “looks to the terms of the contract established between the college and the
student and asks whether the reasonable expectations of the parties have been met” (citations
omitted)). As in Boston College, Plaintiff here could not have had any reasonable expectation
that the university would provide him the purported rights he invokes in his complaint, including:
(1) a written copy of the complaint to take home with him, (2) cross-examination rights, (3) the
ability to question witness, or (4) subpoena power.” This is because the applicable contract—i.e.,
JWU’s Conduct Review Process—does not provide for any such rights. Under Boston College,
that ends the matter.

 

1 Pl. Op. Mem. (Doc. 62) at 2-3 n.3 (citing cases against public universities); Tr. of 10/31/19 Hrg. (Doc No. 70) at
64 (arguing that “Haidak [v. University of Massachusetts-Amherst, 933 F.3d 56 (1st Cir. 2019), which involves a
case against a public university,] . .. does lend insight and deeply supports our breach of contract claim”).

2 Pl. Op. Mem. at 22.

4826-0605-5598.1
Case 1:18-cv-00106-MSM-LDA Document 71 Filed 11/25/19 Page 3 of 4 PagelD #: 1143

Honorable Mary S. McElroy

November 25, 2019 NIXON PEABODY LLP

Page 3 ATTORNEYS AT LAW
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3. The First Circuit Has Established A Mandate For Federal Restraint And
Against Novel Expansions Of State Law.

In Boston College, the plaintiff argued the First Circuit’s analysis of federal due process
in Haidak v. University of Massachusetts-Amherst, 933 F.3d 56 (Ist Cir. 2019), leads to the
conclusion that the requirement of quasi-cross-examination is inherent in the Massachusetts
contractual requirement of “basic fairness.”

The First Circuit rejected the plaintiff's contention as an improper attempt to have a
federal court expand established state law governing private educational contracts. /d. at 16-18.
As the First Circuit made clear, it is solely the province of a state court, not a federal court, to
determine the scope of state law pertaining to private schools. “A litigant who chooses federal
court over state court cannot expect {a federal court] to blaze new and unprecedented
jurisprudential trails as to state law.” Slip Op. at 17 (citations and internal quotations omitted).
Rather, a federal court “must take state law as it finds it: ‘not as it might conceivably be, some
day; nor even as it should be.’” /d. (citations and internal quotations omitted).

Just as the plaintiff in Boston College, Plaintiff here relies on cases against public
universities to try to expand his rights against a private university. Boston College forecloses
such reliance. Plaintiff cannot seek to have the Court expand Rhode Island’s established contract
law, to impose federal due process requirements on private universities, which neither the Rhode
Island Supreme Court nor the Rhode Island General Assembly has permitted. As the First Circuit
held in Boston College, federal courts must “give particular respect to state regulation of
education, an area in which ‘our lack of specialized knowledge and experience counsels against
premature interference with the informed judgments made at the state and local levels.’” Jd. at
17-18 (citation omitted).

4. The Court Should Decline To Rewrite A Private University’s Student
Disciplinary Procedures.

The First Circuit in Boston College reiterated that a court must give considerable respect
and deference to a private academic institution’s choices regarding its matters of student
discipline. Slip Op. at 16 (“Massachusetts law permits colleges and university’s flexibility to
adopt diverse approaches to student discipline matters that do not meet federal due process
requirements.””). The First Circuit’s cautionary language accords with the approach of the District
of Rhode Island. See Brown Univ., 310 F. Supp. at 331 (“To be perfectly clear, a student is not
entitled to a perfect disciplinary process, and it is not the Court’s role to be an appeals court for
[a university’s] disciplinary decisions.”); id. at 339 n.16 & 340 n.17 (declining to obligate the
university to impose additional process into its disciplinary proceedings). In Rhode Island, “the
rules set out in a university’s handbook are “enforceable as long as [they are] not against public
policy or law.” Jd. at 331 (internal quotations omitted; alternation in original). Plaintiff's
opposition improperly requests a judicial rewriting of JWU’s Conduct Review Process of the sort
the First Circuit has expressly rejected.

4826-0605-5598.1
Case 1:18-cv-00106-MSM-LDA Document 71 Filed 11/25/19 Page 4 of 4 PagelD #: 1144

Honorable Mary S. McElroy

November 25, 2019 NIXON PEABODY LLP
Page 4 ATTORNEYS AT LAW
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Given that the First Circuit published Boston College, a binding authority, after the
submission of JWU’s briefs and oral argument, JWU respectfully requests the Court consider the
First Circuit’s ruling in its adjudication of JWU’s summary judgment motion.

Sincerely,

Aim (EL)

Steven M. Richard

SMR/ecrp
cc: James Ehrhard, Esq.

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